               Case 17-10570-BLS   Doc 675-2   Filed 09/11/18   Page 1 of 8




                                      Exhibit A

                               Proposed Form of Ordei•




DOGS DE:221027.1 ]0329/001
               Case 17-10570-BLS              Doc 675-2        Filed 09/11/18        Page 2 of 8




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 17-10570(BLS)
Bostwick Laboratories, Inc., et al.,l
                                                           (Jointly Administered)
                 Post-Effective Date Debtors.
                                                           Re: Docket No.

          ORDER GRANTING PLAN ADMINISTRATOR'S FQURTH OMNIBUS
               ~CU~S'I'~NTI~E; ~8.~~~C~ION T~J r'E~t'TAIN ~tE~LTf'~
               AND ALLOW CLAIMS AND NO LIABILITY CLAIMS

         Upon consideration ofthe Plan Administrator's Fourth Omnibus (Substantive) Objection

to Certain Reduce and Allow Claims and No Liability Claims(the "Objection");2 and this Court

having jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order; and this Court having found that venue ofthese Chapter 11 Cases and

the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having determined that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and this

Court having determined that the relief requested in the Objection is in the best interests of the

Debtors, their estates, their creditors and other parties in interest; and this Court having

determined that notice of the Objection was good and sufficient upon the particular

circumstances and that no other or further notice need be given; and upon the record herein; and

after due deliberation thereon and good and sufficient cause appearing therefor; it is hereby:

         ORDERED, ADJUDGED, AND DECREED THAT:

                  The Objection is GRANTED.


'The Post-Effective Date Debtors are the following entities.(last four digits of EIN in parentheses):.(i) Bostwick
Laboratories, Inc., a Delaware corporation (3169); and (ii) Bostwick Laboratories Holdings, Inc., a Delaware
corporation (1042). The current mailing address for the Post-Effective Date Debtors is James P. Carroll as the Plan
Administrator, c/o Carroll Services LLC,4450 Bonita Beach Road, Suite 9, Bonita Springs, FL 34134.
2 All capitalized terms not defined herein shall have the meanings ascribed to them in the Objection.



DOGS DE:221027.1 10329/001
                 Case 17-10570-BLS                Doc 675-2          Filed 09/11/18          Page 3 of 8




         2.        Each of the Reduce and Allow Claims listed on Exhibit 1 attached hereto is

reduced and allowed in the amounts as set forth under the heading labeled "Modified Claim

Amount," and the No Liability Claims identii"ied on Exhibit 2 attached hereto under the heading

"Claim Number," are disallowed and expunged in full.

         3.        Pursuant to Local Rule 3007-1(e), nothing in this Order shall be construed to

prejudice the rights of the Debtors, or any other party in interest to object to any Remaining

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         4.        The objection to each Claim addressed in the Objection constitutes a separate

contested matter as contemplated by Bankruptcy Rule 9014. This Order shall be deemed a

separate order with respect to each claim. Any stay ofthis Order pending appeal by any ofthe

claimants subject to this Order shall only apply to the contested matter that involves such

claimant and shall not act to stay the applicability and/or finality of this Order with respect to the

other contested matters covered hereby.

          5.        The Court shall retain jurisdiction over all affected parties to determine any

matters, claims, or rights arising from or related to the implementation and interpretation of this

Order.

Dated:                    ,2018
          Wilmington, Delaware
                                                         HONORABLE BRENDAN LINEHAN SHANNON
                                                         UNITED STATES BANKRUPTCY JUDGE




                                                               -2-

DOCS DE221027.1 10329/001
              Case 17-10570-BLS   Doc 675-2   Filed 09/11/18   Page 4 of 8




                                     Exhibit 1

                              Reduce and Allow Claims




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                               _ _
Laboratory Corporation                   ►~:3                      $14,13334                   $13,775.00              Upon information and belief and
      of America                                                                                                        pursuant to Debtors' books and
                                                                                                                     records, claim number 28 should be
                                                                                                                           reduced to $13,775.00.


         Staples                          23                       $32,146.03                  $26,99838               Upon information and belief and
                                                                                                                       pursuant to Debtors' books and
                                                                                                                                                              Case 17-10570-BLS




                                                                                                                     records, claim number 23 should be
                                                                                                                     reduced to $26,998.38 because there
                                                                                                                        was a payment of $5,147.65 by
                                                                                                                     Bostwick Laboratories, Inc. on April
                                                                                                                                   7, 2017.
                                                                                                                                                              Doc 675-2




     Stony Brook                           ~.                       $14,350.00                 $10,511.29              Upon information and belief and
  Pathologists, UFPC                                                                                                   pursuant to Debtors' books and
                                                                                                                     records, claim number 64 should be
                                                                                                                     reduced to $10,511.29 because there
                                                                                                                        was a payment of $3,838.71 by
                                                                                                                                                              Filed 09/11/18




                                                                                                                     Bostwick Laboratories, Inc. on April
                                                                                                                                  20, 2017.
                                                                                                                                                              Page 5 of 8




  DOCS DE:221027.1 10329/001
              Case 17-10570-BLS   Doc 675-2    Filed 09/11/18   Page 6 of 8



                                      Exhibit 2

                                  No Liability Claims




DOCS DE221027.1 10329/001
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     Cardinal Health 200, LLC               73.01                $3,236.65 (Secured Claim) Upon information and belief and pursuant to Debtors'
                                                                                              books and records, claim number 73.01 is not
                                                                                             enforceable against the Debtors or their property
                                                                                                 under any agreement or applicable law.


     Cardinal Health 200, LLC               73.02                   $12,438.12(General      Upon information and belief and pursuant to Debtors'
                                                                     Unsecured Claim)          books and records, claim number 73.02 is not
                                                                                                                                                       Case 17-10570-BLS




                                                                                              enforceable against the Debtors or their property
                                                                                                  under any agreement or applicable law.
                                                                                                                                                       Doc 675-2




    Cornerstone: OnDemand Inc.                57                    $11,000.00(General      Upon information and belief and pursuant to Debtors'
                                                                     Unsecured Claim)             books and records, claim number 57 is not
                                                                                               enforceable against the Debtors or their property
                                                                                             under any agreement or applicable law. Further, the
                                                                                            invoice attached to claim number 57 is dated June 27,
                                                                                            2017, which is after the sale ofthe substantially all of
                                                                                                                                                       Filed 09/11/18




                                                                                            the Debtors' assets and therefore, if valid, constitutes
                                                                                                  a liability of the Debtors' purchaser, Poplar
                                                                                               Healthcare, PLLC. Further, to the extent that the
                                                                                              Claimant is asserting an obligation by the Debtors'
                                                                                                estates, the claim arose after the Petition Date.
                                                                                                                                                       Page 7 of 8




                                                                                             Cornerstone On~emand Inc. failed to file this claim
                                                                                              as an Administrative Expense Claim (as defined in




    DOCS DE221027.1 10329/001
                                                         the Plan) by the Administrative Expense Bar Date (as
                                                          defined in the Plan).1 Therefore, the Debtors are not
                                                           liable for any amount owed and due to Cornerstone
                                                                             OnDemand Inc.


 Hewlett Packard Financial   136   $15,030.21 {General   Upon information and belief and pursuant to Debtors'
          Services                  Unsecured Claim)         books and records, claim number 136 is not
                                                           enforceable against the Debtors or their property
                                                               under any agreement or applicable law.
                                                                                                                  Case 17-10570-BLS
                                                                                                                  Doc 675-2
                                                                                                                  Filed 09/11/18
                                                                                                                  Page 8 of 8




1 See Dkt. No.449.
                                              -2-

DOCS DE221027.1 10329/001
